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Podsiadlo, Kathryn

From:                Michael Gallant <michael.gallant@drlawllp.com>
Sent:                Friday, February 4, 2022 3:07 PM
To:                  Podsiadlo, Kathryn; John Dalimonte
Cc:                  Brown, Arthur E.; zzz.External.diana.surprenant@arlaw.com;
                     zzz.External.paige.sensenbrenner@arlaw.com; grant.guillot@arlaw.com; Chris Coffin; John Restaino;
                     Douglas, Matthew J.; du Pont, Julie K.; zzz.External.allyson.emley@icemiller.com;
                     zzz.External.katherine.althoff@icemiller.com; Cousins, Alexander; Boyd, Adrienne; Cora, Albert
Subject:             RE: Service of expert reports
Attachments:         Tracking information.pdf; Medical Records Baudin_0922-Baudin_01016.pdf; Plaintiffs First
                     Supplemental Answers to Interrogatories - Stanley P. Baudin.pdf; First Supplemental Answers to
                     Defendants' First Set of Requests for Production of Documents - Stanley P. Baudin.pdf; Abrouk
                     Amended Expert Report - 02.04.2022.pdf; R CODE PROVIDED TO DALIMONTE ON 04FEB2022.pdf

Follow Up Flag:      Follow up
Flag Status:         Completed



External E‐mail

Kathryn,

Attached is the tracking number we received from Dr. Mjones confirming that the slides were shipped yesterday and are
enroute to Mr. Cora.

Also attached is a further Amended Report of Dr. Abrouk together with an amended R‐program file that accounts for the
data in Sec. 11. I can confirm that, other than in the Table of Contents, Sec. 11 and Sec. 13 as described here, no other
changes were made to the report. In addition to the ‘caution,’ Dr. Abrouk added the word ‘visual’ to the second
sentence of the first paragraph of Sec. 11. He also deleted the reference to Table 11.1 in that sentence as well as in the
Table of Contents. Table 11.1 and Figure 11.4 were also deleted. Then, on page 41 Dr. Abrouk deleted from “Among
patients” through “NEXIUM is significantly longer.” In Sec. 13, Dr. Abrouk deleted paragraph 12.

Finally, attached are Plaintiff’s Supplemental Responses to Defendants Request for the Production of Documents and
Interrogatories. Included with this supplement are additional bates numbered medical records. We have prepared
HIPPA authorizations for the providers identified in Plaintiff’s supplemental responses and will forward them to you
once they are signed.

Mike

From: Michael Gallant
Sent: Friday, February 4, 2022 12:56 PM
To: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; diana.surprenant@arlaw.com;
paige.sensenbrenner@arlaw.com; grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino
<restaino@drlawllp.com>; Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; allyson.emley@icemiller.com; katherine.althoff@icemiller.com; Cousins, Alexander
<Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne <Adrienne.Boyd@arnoldporter.com>; Cora, Albert
<Albert.Cora@arnoldporter.com>
Subject: RE: Service of expert reports

                                                            1
                                                                                                              EXHIBIT 7
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Kathryn,

Attached please find a list of Dr. Sharlin’s depositions over the past 4 years which were inadvertently left out of
disclosures.

Mike

From: Michael Gallant
Sent: Thursday, February 3, 2022 9:04 PM
To: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; diana.surprenant@arlaw.com;
paige.sensenbrenner@arlaw.com; grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino
<restaino@drlawllp.com>; Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; allyson.emley@icemiller.com; katherine.althoff@icemiller.com; Cousins, Alexander
<Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne <Adrienne.Boyd@arnoldporter.com>; Cora, Albert
<Albert.Cora@arnoldporter.com>
Subject: RE: Service of expert reports

Kathryn,

Concerning Dr. Robinson, Mr. Baudin does not recall seeing Dr. Robinson and does not have an address for the
doctor. Beyond the order for the gastrin levels, Dr. Robinson was not involved in his care. We will have updated
discovery responses to you with accompanying authorizations tomorrow.

Concerning Dr. Mjones, it is my understanding that Dr. Mjones was sending the slides to Mr. Cora today. I will confirm
this was done and obtain a tracking number from Dr. Mjones for you asap. Additionally, we have been informed that Dr.
Mjones will not be available until March, and therefore that she is not be available on February 18th.

Concerning your request for further information on documents on Dr. Waldum and Dr. Sharlin’s reliance lists,

       PRO‐00673646 is a document called Pantoprazole Carcinogenicity Study that we believe was produced to us as a
        part of James Molt’s custodial file. This is a link to the file, which was too large to
        email. https://documentcloud.adobe.com/link/track?uri=urn:aaid:scds:US:1da86def‐3db5‐401c‐876a‐
        42214b5034c0

       Bates number for “Losec FAERS” identified in Dr. Sharlin’s reliance list is AZ‐KID‐07378966.


I will respond to your other requests as I receive responsive information.

Mike



From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Thursday, February 3, 2022 3:49 PM
To: Michael Gallant <michael.gallant@drlawllp.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; diana.surprenant@arlaw.com;
paige.sensenbrenner@arlaw.com; grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino
<restaino@drlawllp.com>; Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; allyson.emley@icemiller.com; katherine.althoff@icemiller.com; Cousins, Alexander
<Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne <Adrienne.Boyd@arnoldporter.com>; Cora, Albert

                                                              2
             Case 3:18-cv-01063-JWD-EWD                 Document 99-8          04/27/22         Page 3 of 12

<Albert.Cora@arnoldporter.com>
Subject: RE: Service of expert reports



[EXTERNAL EMAIL] DO NOT CLICK links or attachments unless you recognize the sender and know the content is safe.


Mike,

First, thank you for providing an updated authorization for the Pathology Group of Louisiana.

I am writing to follow up on other time sensitive issues raised in the email I sent on Tuesday. As you know, our expert
reports are due on February 28. However, on Monday, we learned for the first time that at least one relevant medical
record (serum gastrin level) was not produced in a timely manner (indeed it was dated 2020). This is a record that your
expert, Dr. Waldum, specifically relies upon in his report. We need to ensure that our experts have access to every
record your experts had access to. Thus, please confirm you will produce the following ASAP:

       All medical records in Mr. Baudin’s possession, including those from Dr. Akayla Robinson (the doctor who
        ordered the serum gastrin level)
       Updated discovery responses supplementing all medical providers who have treated or otherwise evaluated
        Mr. Baudin. Given that we are only now learning of Dr. Robinson, it is clear we need an updated list
       Authorizations for all previously undisclosed providers, such as Dr. Robinson

Please also confirm whether Dr. Robinson is one of Mr. Baudin’s treaters. Given that she ordered a serum gastrin test,
we need to understand her role in Mr. Baudin’s care and make a decision whether to request her deposition.

We understand that Dr. Mjones is going to send us the pathology slides that she/her team stained. Can you please
confirm they’ve been sent? If they have, please provide the tracking information so that our legal assistant knows when
to go to the office because we are still working remotely due to covid. If they haven’t been sent, please confirm when
they will be sent.

Also with respect to Dr. Mjones, we requested her deposition on or before February 18, so our team needs to know
whether this is going forward. On January 28, you said you were trying to obtain dates, but that was almost a week ago.
Please confirm by COB tomorrow.

The other requests from my email on Tuesday still stand and need to be addressed in a timely manner.

We look forward to your cooperation as we do not want to involve the Court, but will have no choice but to do so if
these reasonable requests aren’t addressed in a timely manner.

Thank you,
Kathryn



From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Tuesday, February 1, 2022 8:31 AM
To: 'Michael Gallant' <michael.gallant@drlawllp.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; zzz.External.diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino <restaino@drlawllp.com>; Douglas,
Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K. <Julie.duPont@arnoldporter.com>;
                                                            3
            Case 3:18-cv-01063-JWD-EWD                  Document 99-8          04/27/22      Page 4 of 12

zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>; zzz.External.katherine.althoff@icemiller.com
<katherine.althoff@icemiller.com>; Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne
<Adrienne.Boyd@arnoldporter.com>; Cora, Albert <Albert.Cora@arnoldporter.com>
Subject: RE: Service of expert reports

Mike,

Thank you. We have a few additional questions and requests. The first and second requests are particularly time
sensitive.

Gastrin level record & corresponding issues:
We are very concerned that this document was not produced to us previously given that it’s dated October 2020 and we
are only now learning about it. We see that Dr. Akayla Robinson ordered this serum gastrin test. We have no record of
this physician. Please confirm whether Dr. Robinson is one of Mr. Baudin’s treating physicians or whether you enlisted
Dr. Robinson to order a serum gastrin test for the purpose of litigation. We reserve our rights to depose Dr. Robinson if
necessary.

In order to ensure that we have access to every single medical record your experts reviewed and relied upon we request
the following:
      Please produce all medical records in Mr. Baudin’s possession, including those from Dr. Akayla Robinson.
      Please update Mr. Baudin’s discovery responses which list all medical providers who have treated or otherwise
         evaluated Mr. Baudin. Given that we are only now learning of Dr. Robinson, it is clear we need an updated list.
      Please produce authorizations for all previously undisclosed providers, such as Dr. Robinson.

Given the timeline, please send us these materials by COB Wednesday, February 2 or before. This is critical to ensure
our experts have everything your experts had access to, which I am sure you understand the importance of.

Updated pathology authorization:
On Friday, you said you’d provide an updated authorization for release of Mr. Baudin’s pathology; however, it wasn’t
attached to the email you sent yesterday. Please send me an updated authorization as soon as possible today. The
authorization is reattached here for your convenience.

Dr. Mjones:
Thank you for having her send the pathology to Mr. Cora. Please provide the tracking information so he knows when to
go to the office (we’re largely working remotely).

Have you confirmed when Dr. Mjones is available for her deposition?

Finally, please confirm whether you intend to amend your disclosure and name Dr. Mjones as an expert.

Dr. Abrouk:
We are analyzing his amended report and Section 11 “R codes,” which might obviate the need for a deposition on
February 17, but I’ll circle back to confirm that as soon as we finalize our analysis of the materials.

With respect to his amended report, can you please confirm that this is the only amendment (on page 40 of 47):




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Zoom deposition:
The process you specify below is what we had in mind for both plaintiff and defense experts. We wanted to make sure
that any attorney defending a deposition in person (if they choose to do so) is also on Zoom/camera. Sounds like we are
in agreement there.

Dr. Sharlin:
The testimony list appears to be limited to trial testimony (attached). However, under Rule 26, we are entitled to all
deposition and trial testimony in the last 4 years. Please provide an amended list.

Documents:
Finally, there are a few documents we can’t locate because the Bates/identifying information you provided appears to
be incomplete:
 Document description provided Bates provided                         Expert
 Losec FAERS                        AZ‐KID‐                           Sharlin
                                    9 001                             Waldum

There might be a few others, but these are the initial ones that jumped out to us.

Please contact us with any questions.

Thank you,
Kathryn



From: Michael Gallant <michael.gallant@drlawllp.com>
Sent: Monday, January 31, 2022 2:16 PM
To: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; zzz.External.diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino <restaino@drlawllp.com>; Douglas,
Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K. <Julie.duPont@arnoldporter.com>;
zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>; zzz.External.katherine.althoff@icemiller.com
<katherine.althoff@icemiller.com>; Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne
<Adrienne.Boyd@arnoldporter.com>
Subject: RE: Service of expert reports

External E‐mail

Kathryn:



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Attached please find the additional information requested from Drs. Nacer and Sharlin with their amended reports. Also
attached is Dr. Waldum’s reference to Mr. Baudin’s gastrin levels which does not appear to have been a part of prior
productions. Finally, Dr. Mjones is sending the slides referenced in her report to Mr. Cora at Arnold & Porter as
requested.

With regard to conducting expert depositions via zoom, we have no objection generally. However, to clarify, are you
asking for a different set up than we have used previously. We have no objection to requiring the attorney who is
present with the witness to login to zoom so that he is visible during the deposition. Let us know if you had a different
process in mind.

Mike

From: Michael Gallant
Sent: Friday, January 28, 2022 5:51 PM
To: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; diana.surprenant@arlaw.com;
paige.sensenbrenner@arlaw.com; grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino
<restaino@drlawllp.com>; Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; allyson.emley@icemiller.com; katherine.althoff@icemiller.com; Cousins, Alexander
<Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne <Adrienne.Boyd@arnoldporter.com>
Subject: RE: Service of expert reports

Kathryn:

We expect to have the information you requested from Dr. Abrouk and Dr. Sharlin by Monday. We are trying to
ascertain Dr. Mjones availability for deposition as requested. Dr. Abrouk is available February 16th and 17th for
deposition. Please note that in the event that he files a rebuttal report after AstraZeneca's disclosures it is our position
that Dr. Abrouk will not be produced a second time. We will discuss your proposal about conducting expert depositions
via zoom and get back with you Monday.

We are in the process of obtaining dates for the remaining experts in March and April and will let you know when we
have dates to offer.

I will arrange for delivery of the slides with Mr. Cora. I can get them out on Monday. We will provide an updated
authorization as requested by Monday as well.

The references relied upon by Dr. Hrushesky are contained in his report.

Have a good weekend.


Mike

From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Friday, January 28, 2022 12:25 PM
To: Michael Gallant <michael.gallant@drlawllp.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; diana.surprenant@arlaw.com;
paige.sensenbrenner@arlaw.com; grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino
<restaino@drlawllp.com>; Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; allyson.emley@icemiller.com; katherine.althoff@icemiller.com; Cousins, Alexander
<Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne <Adrienne.Boyd@arnoldporter.com>
Subject: RE: Service of expert reports
                                                              6
             Case 3:18-cv-01063-JWD-EWD                   Document 99-8          04/27/22       Page 7 of 12




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John and Mike,

Today marks a week since I contacted you with reasonable requests in response to the expert reports you served on
January 14. Please respond to this email by Monday.

To reiterate, here are categories of information we need from you:

Deposition dates:
Please provide deposition dates for all of your experts. Please confirm that you will produce Dr. Mjones for a deposition
‐ it is critical for us to understand your position on this given that you did not disclose Dr. Mjones as an expert. We need
an answer to this no later than Monday.

Related to depositions, can we agree to conduct all expert depositions (plaintiff and defense) by Zoom? Can we also
agree that any attorney who defends an expert deposition in person will be on camera?

Authorization for Mr. Baudin’s pathology:
While we’ve previously obtained Mr. Baudin’s pathology for expert review back in late 2020, all but one authorization
has expired so we need you to sign the attached authorization. This request should not reasonably take a week. Please
return it to us no later than Monday.

Pathology slides from Dr. Mjones:
Dr. Mjones indicated that she stained two separate samples of Mr. Baudin’s pathology, as described below. The picture
embedded in Dr. Waldum’s report is not sufficient for our expert to review. Our pathology expert is entitled to review
the samples Dr. Mjones stained. Please confirm you or Dr. Mjones will ship them to Albert Cora at the address below
early next week.

Expert materials:
To reiterate, we have several requests relating to your expert reports that require either (1) clarification from you or (2)
production of underlying materials. I clarified the question you had with respect to Dr. Abrouk on Wednesday (see
below). We need to understand your position on these requests by Monday. We cannot reasonably have our experts
evaluate the opinions of your experts without access to certain underlying materials or answers to our questions as
detailed below. We are happy to clarify any other requests to the extent such is necessary.

New request ‐ clarification on company documents:
We and our vendor have been unable to locate several documents cited by your experts. It very well may be that a digit
is missing in the Bates, but we will need clarification from you to ensure we and our experts can review all documents
yours are relying upon. I will send this list once compiled today or Monday, but wanted to preview the issue now.

Again, happy to discuss or clarify any of these requests. Thanks in advance for your cooperation and have a nice
weekend.

Thanks,
Kathryn




                                                              7
            Case 3:18-cv-01063-JWD-EWD                 Document 99-8          04/27/22      Page 8 of 12


From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Wednesday, January 26, 2022 11:59 AM
To: 'Michael Gallant' <michael.gallant@drlawllp.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; zzz.External.diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino <restaino@drlawllp.com>; Douglas,
Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K. <Julie.duPont@arnoldporter.com>;
zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>; zzz.External.katherine.althoff@icemiller.com
<katherine.althoff@icemiller.com>; Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne
<Adrienne.Boyd@arnoldporter.com>
Subject: RE: Service of expert reports

Hi Mike,

We realize that the underlying data is from AZ’s Sapphire database. However, for each figure and table in section 11 of
Dr. Abrouk’s report, we need to know the specific cases he used and the specific data points he entered with respect to
each case. Therefore, we need the underlying data/commands/native files he input into the “R‐software” and any
output files. Please confirm you will produce these files.

Additionally, can you please provide an update on the other items below? Most of these should be pretty easy to
address. Happy to discuss.

Thanks,
Kathryn




From: Michael Gallant <michael.gallant@drlawllp.com>
Sent: Wednesday, January 26, 2022 11:32 AM
To: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; zzz.External.diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino <restaino@drlawllp.com>; Douglas,
Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K. <Julie.duPont@arnoldporter.com>;
zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>; zzz.External.katherine.althoff@icemiller.com
<katherine.althoff@icemiller.com>
Subject: Re: Service of expert reports

External E‐mail

Kathryn,

Concerning your request for "the underlying program/data files he used to create the figures and tables in
section 11 (e.g., Excel, Stata files or some other statistical program)," we confirmed that the underlying data
used in Section 11 of Dr. Abrouk's report can be found in AstraZeneca's production of the Sapphire database
(AZ-STOMA-00032685), and that "R-software" was used to analyze the data.

Mike

Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android
                                                           8
             Case 3:18-cv-01063-JWD-EWD                 Document 99-8          04/27/22       Page 9 of 12


From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Monday, January 24, 2022 3:01:27 PM
To: John Dalimonte <john@drlawllp.com>; Michael Gallant <michael.gallant@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com <grant.guillot@arlaw.com>; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino
<restaino@drlawllp.com>; Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; allyson.emley@icemiller.com <allyson.emley@icemiller.com>;
katherine.althoff@icemiller.com <katherine.althoff@icemiller.com>
Subject: RE: Service of expert reports



[EXTERNAL EMAIL] DO NOT CLICK links or attachments unless you recognize the sender and know the content is safe.


Hi Mike,

Nice chatting earlier.

To clarify our request with respect to Dr. Abrouk’s report, we are requesting the underlying program/data files he used
to create the figures and tables in section 11 (e.g., Excel, Stata files or some other statistical program).

Please let me know if you need anything else.

Thanks,
Kathryn



From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Friday, January 21, 2022 2:27 PM
To: 'John Dalimonte' <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; zzz.External.diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino <restaino@drlawllp.com>; Douglas,
Matthew J. <Matthew.Douglas@arnoldporter.com>; Michael Gallant <michael.gallant@drlawllp.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>;
zzz.External.katherine.althoff@icemiller.com <katherine.althoff@icemiller.com>
Subject: RE: Service of expert reports

Hi John,

We’ve reviewed your expert reports and have several requests relating to them, discussed in turn:

Deposition Dates:

The report of Dr. Waldum makes clear that he is relying on a separate expert, Dr. Mjones, who provided a report to Dr.
Waldum. Please provide deposition dates for all retained experts listed in your designation as well as a date for Dr.
Mjones. As far as priority and timing, we would like to depose Dr. Mjones and Dr. Abrouk on or before February 18,
2022.

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Pathology Slides/Stains from Dr. Mjones

In her report, Dr. Mjones states that she stained two separate samples of Mr. Baudin’s pathology. (Waldum Report,
Appendix A at 1, 3). The one photograph that Dr. Mjones provided in Appendix A is not sufficient, and AZ’s expert is
entitled to review the actual pathology specimens that Dr. Mjones stained. Please produce the samples she stained for
our pathologist’s review as soon as possible. They can be sent to:

Arnold & Porter LLP
Attention: Albert Cora
250 W 55th St.
New York, NY 10019
Phone: 212‐836‐7436
Email: Albert.Cora@arnoldporter.com

Pathology Authorizations

While we previously obtained Mr. Baudin’s pathology for expert review, all but one authorization has expired. Attached
here is an updated authorization for review and signature. Please return it to us as soon as possible given the deadlines.

Dr. Waldum

Dr. Waldum states on page 142 of his report that “Gastrin in blood taken after the operation while taking Nexium 40 mg
daily as before were 213 pg/mL (normal > 100 pg/ml).” Dr. Waldum does not cite a specific medical record for this
statement, and we have been unable to locate any medical record with this, or any, serum gastrin level.

Please provide a citation to the medical record that contains this information. If no such medical record exists, please
produce whatever Dr. Waldum is relying on for this statement.

Dr. Hrushesky

We did not receive a reliance list for Dr. Hrushesky. Please confirm that all of the materials Dr. Hrushesky is relying upon
for his opinions are contained within the body of his expert report. If he is relying on materials beyond those cited in his
expert report, please provide us with a reliance list as soon as possible.

Dr. Abrouk

Please provide all underlying data and calculations for Dr. Abrouk’s analyses described in Section 11 of his report,
including the specific data used to create each table and figure in that section.

Dr. Sharlin

Please provide all underlying data used to create Table 5 in Dr. Sharlin’s report, including each Sapphire Case_ID and
FAERS Mfr_Num (if identified) for gastric cancer adverse events reflected in the middle two columns of Table 5.

Thanks in advance. Have a nice weekend!

Thanks,
Kathryn



From: John Dalimonte <john@drlawllp.com>
Sent: Friday, January 14, 2022 10:00 PM
                                                             10
                 Case 3:18-cv-01063-JWD-EWD            Document 99-8           04/27/22      Page 11 of 12

To: Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; John Restaino <restaino@drlawllp.com>; Michael
Gallant <michael.gallant@drlawllp.com>
Cc: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>;
zzz.External.diana.surprenant@arlaw.com <diana.surprenant@arlaw.com>;
zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>; grant.guillot@arlaw.com; Chris
Coffin <ccoffin@pbclawfirm.com>; Stan Baudin <sbaudin@pbclawfirm.com>
Subject: RE: Service of expert reports

 External E‐mail

Matt,

Attached please find Plaintiff’s Rule 26 Expert Disclosures. Please note that the compensation schedule are set forth in
most of the reports. Several of our experts have never testified and the reliance documents for Dr. Hrushesky are cited
in his report so he does not have a separate reliance list.

Very truly yours,

John A. Dalimonte, Esq.
Managing Partner
Licensed in MA and DC




75 State Street, Suite 100
Boston, MA 02109
Tel: 833‐443‐7529 ext. 104
Fax: 855‐203‐2035

www.drlawllp.com

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From: Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>
Sent: Wednesday, January 12, 2022 1:06 PM
To: John Dalimonte <john@drlawllp.com>; John Restaino <restaino@drlawllp.com>; Michael Gallant
<michael.gallant@drlawllp.com>
Cc: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Subject: Service of expert reports



                                                            11
                Case 3:18-cv-01063-JWD-EWD                                  Document 99-8                  04/27/22            Page 12 of 12


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John, John and Mike,

Depending on the time of day when you serve your reports on Friday, I may be out of pocket for a couple of hours
traveling. Can you please include Kathryn Podsiadlo, copied here, on any service of those materials?

Thanks,

Matt

_______________
Matthew Douglas
Partner

Arnold & Porter
1144 Fifteenth Street | Suite 3100
Denver, CO 80202‐2569
T: +1 303.863.2315
Matthew.Douglas@arnoldporter.com | www.arnoldporter.com



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